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                                                                                      November 2, 2020
     Via ECF                                                                 Application granted. Sentencing adjourned
                                                                             to January 28, 2021 at 11:00 a.m.
     Honorable William H. Pauley III
     United States District Judge
     Southern District of New York
     500 Pearl Street
     New York, NY 10007


                                   Re: United States v. Joseph Bailey
                                       19 cr. 412 (WHP)
                                                                                       November 2, 2020
     Dear Judge Pauley:

             We represent the defendant, Joseph Bailey, in the above-captioned matter. We write to
     respectfully request an adjournment of the November 5, 2020 sentencing hearing currently
     scheduled for this matter.

              We understand that the Court’s calendar can currently accommodate a sentencing hearing
     for this matter on January 28, 2021 and ask that the sentencing hearing be adjourned to then.

              Assistant United States Attorney Dina McLeod has advised us that the Government consents
     to this request.


                                                                 Respectfully,
                                                                            y




                                                                          ___________________
                                                                          Michael Sardar


     cc: AUSA Dina McLeod (by ECF)
